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AO 245B (Rev. 12/03)(VAED rev. 2) Sheet | - Judgment in a Criminal Case

UNITED STATES DISTRICT COURT
Eastern District of Virginia

Richmond Division
UNITED STATES OF AMERICA
V. Case Number: 4:19cr00047-2 (DJN)
IBAN B. HERNANDEZ, USM Number: 78121-112
a/k/a/ Ivan Baretto
Defendant. Defendant's Attorney: Gregory K. Matthews

JUDGMENT IN A CRIMINAL CASE
The defendant pleaded guilty to Count 2 of Third Superseding Indictment.

Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.

Title and Section Nature of Offense Offense Class Offense Ended Count

21:846 Conspiracy to distribute and possess with intent to Felony 4/2019 2
distribute five kilograms or more of cocaine and one
kilogram or more of heroin

On motion of the United States, the Court has dismissed the remaining counts in the third superseding indictment (Counts

3, 68, and 70) as to defendant IBAN B. HERNANDEZ.

As pronounced on April 22nd, 2021, the defendant is sentenced as provided in pages 2 through 5 of this Judgment. The

sentence is imposed pursuant to the Sentencing Reform Act of 1984.

It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material

changes in economic circumstances.

/s/ \

David J. Novak
United States District Judge

Dated: April ae , 2021
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Sheet 2 - Imprisonment

Case Number: 4:19cr00047-2 (DJN)
Defendant’s Name: HERNANDEZ, IBAN B.

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of ONE HUNDRED FOURTEEN (114) MONTHS. Defendant shall receive credit for time served on this charge.

The Court makes the following recommendations to the Bureau of Prisons:
1) Vocational training
2) Designate defendant to a facility in California if the vocational training is available
3) BOP 500-hr intensive drug treatment program
4) Mental health treatment

The defendant is remanded to the custody of the United States Marshal.

RETURN

] have executed this judgment as follows:

Defendant delivered on to

at , with a certified copy of this Judgment.
UNITED STATES MARSHAL

By

DEPUTY UNITED STATES MARSHAL
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Sheet 3 - Suprvised Release

Case Number: 4:19cr00047-2 (DJN)
Defendant’s Name: HERNANDEZ, IBAN B.

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of TEN (10) YEARS.

The Probation Office shall provide the defendant with a copy of the standard conditions and any special conditions of
supervised release.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use
of a controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and
periodic drug tests thereafter, as determined by the court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any
such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of
this judgment.

STANDARD CONDITIONS OF SUPERVISION

The defendant shall comply with the standard conditions that have been adopted by this court set forth below:

1) the defendant shall not leave the judicial district without the permission of the court or probation officer,

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer
any narcotic or other controlled substance or any paraphernalia related to such substances, except as prescribed by a
physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
convicted of a felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer for a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
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Sheet 3A — Suprvised Release

Case Number: 4:19cr00047-2 (DJN)
Defendant’s Name: HERNANDEZ, IBAN B.

SPECIAL CONDITIONS OF SUPERVISION

While on supervised release pursuant to this Judgment, the defendant shall also comply with the following additional special
conditions:

1) The defendant shall waive all rights of confidentiality regarding substance abuse and mental health treatment, in
order to allow the release of information to the probation officer and authorize communication between the
probation officer and the treatment provider(s).

2) The defendant shall pay the balance owed on any court-ordered financial obligations in monthly installments of
not less than $25.00, starting 60 days after supervision begins until paid in full.

3) The defendant shall undergo a mental health evaluation at a program approved by the United States Probation
Office for mental health treatment. The defendant shall follow all recommendations of the evaluation, which may
include mental health treatment. The cost of this program is to be paid by the defendant as directed by the
probation officer.

4) If at any time, the defendant tests positive for the use of any controlled substance or abuse of alcohol, the
defendant will be required to enroll in and successfully complete a substance abuse treatment program, whether it
be residential or out-patient, as determined by the Probation Officer.

5) The defendant shall obtain a General Equivalency Diploma (GED) or a vocational skill if not employed full-time.

6) The defendant shall provide the probation officer access to any requested financial information.

7) The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
probation officer.
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Sheet 6 — Schedule of Payments

Case Number: 4:19cr00047-2 (DJN)
Defendant’s Name: HERNANDEZ, IBAN B.

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Page 5.

Count Assessment Fine

2 $100.00 $0.00

$0.00 $0.00

TOTALS: $100.00 $0.00
FINES

No fines have been imposed in this case.

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

The special assessment shall be due in full immediately.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the Clerk of the Court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
Payments shall be applied in the following order: (1) assessment (2) restitution principal (3) restitution interest (4) fine

principal (5) fine interest (6) community restitution (7) penalties and (8) costs, including cost of prosecution and court costs.

Nothing in the court's order shall prohibit the collection of any judgment, fine, or special assessment by the United States.
